                  Case 4:21-cr-00103-SMR-HCA Document 1328-2 Filed 12/30/22 Page 1 of 1

                                                                                                                             Brian Munnelly <bmunnelly1009@gmail.com>



Roberson/Murphy
1 message

Lucas Taylor <lucas@hawkeyedefense.com>                                                                                                             Wed, Dec 7, 2022 at 2:06 PM
To: "Weiser, Mallory (USAIAS)" <mallory.weiser@usdoj.gov>, bmunnelly1009@gmail.com

 Counsel-

 I am following up on the conversations I had with each of you regarding the potential testimony of my client Timothy Roberson in the Carl Murphy trial.

 My client is charged in the Southern District of Iowa, and his sentencing hearing is still pending. Ms. Weiser informed me via email that if my client
 perjured himself during the trial of Mr. Murphy, he could face an obstruction enhancement or new charges. I doubt that my client would commit perjury.
 However, given the possibility of criminal charges and their possible impact on my client's sentence, I believe it is appropriate for him to exercise his right
 to remain silent and advise Mr. Roberson of the same. Mr. Roberson agrees with my advice and would assert his Fifth Amendment right to remain silent if
 compelled to testify.

 Please let me know if you have any additional requests or questions.

 Lucas


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